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                EXHIBIT B
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   Attorneys for Defendants Rivos Inc. and Wen
10 Shih-Chieh a/k/a Ricky Wen

11                                UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14

15 APPLE INC.,                                      Case No. 5:22-CV-2637-EJD

16                  Plaintiff,                      STIPULATED ORDER REGARDING
                                                    DOCUMENT PRESERVATION AND
17            vs.                                   FORENSICS INSPECTION

18 RIVOS INC., WEN SHIH-CHIEH a/k/a
   RICKY WEN and BHASI KAITHAMANA,
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               Defendants.
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                                                                      Case No. 5:22-CV-2637-EJD
     AND
                           STIPULATED ORDER REGARDING DOCUMENT PRESERVATION AND INSPECTION
       Case 5:22-cv-02637-PCP Document 47-5 Filed 06/15/22 Page 3 of 6




 1         Plaintiff Apple Inc. (“Apple”) and Defendant Wen Shih-Chieh a/k/a Ricky Wen (“Mr.

 2 Wen”), by and through their respective counsel, stipulate to entry of an Order as follows:

 3         WHEREAS, Apple filed its Complaint in this matter on April 29, 2022, and the

 4 Complaint’s requests for relief include among other things a forensics inspection and

 5 investigation; and

 6         WHEREAS, Mr. Wen will provide the “computer device” identified in the Roffman

 7 Declaration (Dkt. No. 22-4), to Apple to make a forensic copy, then Apple and Mr. Wen will enter

 8 an agreed-upon forensics inspection protocol by a third party by stipulation; and

 9         WHEREAS, this Agreed Order, and the third party forensics inspection protocol, render

10 unnecessary the pending Apple request for a temporary restraining order;

11         IT IS HEREBY STIPULATED AND ORDERED THAT:

12             1. Mr. Wen will return to Apple, through Apple’s undersigned counsel, any Apple

13                 confidential information of which he is aware or becomes aware as being in his

14                 possession, including but not limited to Apple confidential information stored on

15                 any devices, drives, computers, tablets, phones, electronic media, emails and email

16                 accounts, and cloud storage.

17             2. Mr. Wen will not access, use, or disclose, for any purposes, Apple confidential

18                 information including but not limited to any Apple confidential information that

19                 may be stored on any devices, drives, computers, tablets, phones, electronic media,

20                 emails and email accounts, and cloud storage – other than for purposes of

21                 identification and return to Apple.

22             3. Mr. Wen will not alter, destroy, erase, or otherwise dispose of any evidence or

23                 other material, in any form, relating to this action, that may be in Mr. Wen’s

24                 possession including but not limited to: (a) Apple’s confidential information,

25                 including but not limited to information regarding Apple’s past, current, and future

26                 systems-on-chip (“SoCs”); and (b) any devices, drives, computers, tablets, phones,

27                 electronic media, emails and email accounts, and cloud storage that currently

28                 contain, or previously contained, Apple’s confidential information.

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                         STIPULATED ORDER REGARDING DOCUMENT PRESERVATION AND INSPECTION
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 1          4. Mr. Wen agrees to provide to Apple the “computer device” (i.e. hard drive)

 2             identified in the Roffman Declaration (Dkt. No. 22-4), which will be treated as

 3             agreed by separate Stipulated Order, including to be treated as “Highly

 4             Confidential – Attorneys’ Eyes Only” under the N.D. California Model Protective

 5             Order. Apple will return the device to counsel for Mr. Wen within two calendar

 6             days of retrieving the device.

 7          5. By stipulating to entry of this Order, Mr. Wen does not make any admission of

 8             liability or wrongdoing, or an admission that he does in fact have Apple

 9             confidential information in his possession.

10          6. Apple reserves the right to move for interim relief if necessary after meeting and

11             conferring in good faith with counsel for Mr. Wen.

12          7. Counsel for Apple and Mr. Wen shall meet and confer to select a neutral third party

13             to be appointed no later than June 24, 2022 to conduct a forensics investigation

14             pursuant to a further stipulation of such parties and joint instructions to be provided

15             by such parties.

16          8. Such neutral shall be compensated by Apple.

17          9. The entry of this Order shall moot Apple’s request for a temporary restraining order

18             and request for an order to show cause in Apple’s Ex Parte Motion for Temporary

19             Restraining Order, Expedited Discovery, and Order to Show Cause (Dkt. No. 23).

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21 DATED: June ___, 2022                    MORRISON & FOERSTER LLP

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23
                                                By       /s/
24                                                BRYAN WILSON
                                                  Attorneys for Plaintiff APPLE INC.
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 1 DATED: June ___, 2022                 QUINN EMANUEL URQUHART & SULLIVAN,
                                         LLP
 2

 3

 4                                        By       /s/
                                            STEPHEN SWEDLOW
 5                                          Attorneys for Defendant
                                            Wen Shih-Chieh a/k/a Ricky Wen
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                                          ORDER
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     So Ordered.
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     DATED: June ___, 2022                  UNITED STATES DISTRICT COURT JUDGE
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                                            -3-                  Case No. 5:22-CV-2637-EJD
                      STIPULATED ORDER REGARDING DOCUMENT PRESERVATION AND INSPECTION
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 1                             ATTESTATION OF CONCURRENCE

 2         I, Stephen Swedlow, am the ECF User whose ID and password are being used to file this

 3 [PROPOSED] STIPULATED ORDER REGARDING DOCUMENT PRESERVATION

 4 AND FORENSICS INSPECTION. In compliance with Local Rule 5-1(h)(3), I hereby attest that

 5 Bryan Wilson has concurred in this filing.

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 7 DATED: June ___, 2022                        By     /s/
                                                  STEPHEN SWEDLOW
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                         STIPULATED ORDER REGARDING DOCUMENT PRESERVATION AND INSPECTION
